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 7

 8                            UNITED STATES BANKRUPTCY COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11    In re                                                   Case No. 19-30232
12
      MUNCHERY, INC.                                          Chapter 11
13
               Debtor.                                        DECLARATON OF JAMES
14                                                            BERIKER IN SUPPORT OF
                                                              DEBTOR’S FIRST DAY MOTIONS
15
                                                              Date: TBD
16                                                            Time: TBD
                                                              Place: 450 Golden Gate Ave, 16th Floor
17                                                                   San Francisco, CA 94102

18

19
              I, James Beriker, declare as follows:
20
              1.     I am the current Chief Executive Officer (“CEO”) and sole member of the Board
21
     of Directors of Munchery, Inc. (“Munchery” or the “Debtor”). I make this declaration in
22
     support of Munchery’s first day motions, including those to establish bid procedures for the
23
     sale of its assets, for approval of a stipulation for use of cash collateral and debtor-in-possession
24
     financing, approval my ongoing employment and compensation agreement with Munchery, and
25
     such additional motions as Debtor may choose to add.
26
              2.     I joined Munchery as its CEO and a member of its Board of Directors on
27
     November 11, 2016. Prior to that, I held CEO and Board positions at numerous technology
28
     startup companies in Southern and Northern California.
     BERIKER DEC RE FIRST DAY MOTIONS                                                             1
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 1

 2   THE CHAPTER 11 FILING

 3          3.      On February 28, 2019 (the “Petition Date”), (the “Petition Date”), Munchery

 4   filed a voluntary petition with this Court under chapter 11 of Title 11 of the United States Code

 5   (the “Bankruptcy Code”), commencing the above-referenced bankruptcy case (the “Case”).

 6   Debtor continues to manage and operate its business as a debtor in possession. No trustee or

 7   examiner has been appointed in this chapter 11 case and no committee has been appointed or

 8   designated.

 9
     THE HISTORY OF DEBTOR AND ITS OPERATIONS
10
            4.      Munchery was founded in 2011 by Tri Tran (“Tran”) and Conrad Chu (“Chu”).
11
     The business of the company was to make, sell and deliver freshly prepared meals, cooking
12
     kits, sides, desserts, and drinks to consumers. It did so through a local business, where orders
13
     placed through the company’s site or mobile apps were made and fulfilled on the same day by
14
     local delivery, and a meal kit subscription business in which customers were shipped weekly
15
     kits with recipes and ingredients to prepare meals at home.
16
            5.      The original strategy for the business was to create a platform that enabled local
17
     professional chefs to make fresh meals at Munchery kitchens and to sell their products directly
18
     to customers through the Munchery website and mobile apps. The chef partners would be
19
     responsible for setting their menus, preparing their meals, and paying their own labor costs.
20
     Munchery would pay for all the costs of operating the kitchens, the cost of ingredients and
21
     other supplies, marketing the service, taking orders through its website and mobile apps and
22
     delivering to consumers-- and would share the revenue with its chef partners. The model later
23
     changed from this “marketplace” of chefs and consumers to a fully-integrated service in which
24
     Munchery eliminated the partnerships with local professional chefs and, instead, prepared, sold
25
     and delivered meals directly to customers. The meal kit business was launched in 2015 as part
26
     of the company’s growth strategy.
27

28

     BERIKER DEC RE FIRST DAY MOTIONS                                                           2
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 1          6.      The team’s early focus was to develop a proprietary technology platform to

 2   operate and optimize the entire process of making and delivering fresh food to customers. The

 3   technology developed and deployed by the company included: a front-end ecommerce

 4   platform, which allowed the company to post items daily and consumers to select, purchase and

 5   pay for meals through the company’s website and native apps; the production enterprise

 6   resource management (“ERP”) system, which enabled the company to develop and launch new

 7   recipes, manage the supply chain for fresh ingredients and supplies, produce the meals through

 8   batch cooking, and plate individual meals; the logistics and last-mile platform, which enabled

 9   the company to accurately and quickly pack-and-pack individual items and assemble orders

10   using modified hand scanners, distribute orders via a hub-and-spoke system where refrigerated

11   trucks would transport orders to specific zones and hand-off the orders to the assigned drivers;

12   and, a driver app that assisted in managing and routing orders to arrive in the windows

13   specified by customers. All of this was managed through a set of proprietary tracking and

14   administrative tools used by the teams to monitor and mitigate operational issues—and

15   connected to a customer relationship management platform. The team later developed

16   algorithms to optimize the various aspects of the service to scale operations, increase

17   efficiency, and improve the quality of the service. In addition, the company developed over

18   three thousand meal recipes, including descriptions, nutritional information, and photographs.

19   Over the life of the business, the company invested significantly in its technology capabilities,

20   believing that the company’s ability to efficiently scale its operations leveraging technology

21   would be a competitive advantage in the food delivery market.

22          7.      Munchery launched its service in private beta in San Francisco in March 2011

23   and then launched to the public in May 2011. The company expanded its service to Seattle in

24   July 2014, New York in March 2015, and Los Angeles in May 2015.

25          8.      Munchery was targeting and providing meal preparation and delivery services

26   for the growing market of professionals and families that were cooking less and needed
27   alternatives to fast food and restaurant delivery—and were increasingly relying on on-demand

28   services to fulfill their daily needs, from transportation to grocery delivery and other services.

     BERIKER DEC RE FIRST DAY MOTIONS                                                             3
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 1          9.      When Munchery launched, food delivery was in its early stages, with local

 2   restaurant delivery becoming more accessible through marketplaces like Grub Hub, Seamless,

 3   Door Dash, Postmates, Caviar, and Uber Eats. Additionally, boxes including a recipe and pre-

 4   portioned ingredients to prepare a meal at home (“meal kits”) were introduced by subscription-

 5   based services like Blue Apron, Plated, Hello Fresh, and SunBasket. As of Munchery’s

 6   founding, there had been little to no investment from larger incumbent grocery companies or

 7   other ecommerce or on demand businesses, but the market for such services was growing

 8   significantly and attracting the interest of large companies and high profile institutional

 9   investors, largely based on the early success of Uber.

10          10.     Between 2013 and 2015, the company raised $120.7 million in three preferred

11   equity financing rounds: Series “A” of $4.3 million in 2013; Series “B” of $28 million in 2014;

12   and, Series “C” of $88.4 million in 2015. Participants in these rounds included Menlo

13   Ventures, Sherpa Capital and E-Ventures. In addition, Munchery secured $11.8 million in

14   venture debt financing, including a secured term loan of $8.4 million from Comerica Bank

15   (“Comerica”) in December 2014 (the “Comerica Debt”) and a secured growth capital loan of

16   $3.4 million from TriplePoint Venture Growth BDC Corp (“TriplePoint”) in June 2016 (the

17   “TriplePoint Debt”) (Comerica and Triple Point are referred to together as the “Senior Secured

18   Creditors”). The TriplePoint Debt was subordinated to the Comerica Debt.

19          11.     When I joined the company in November 2016, I saw significant opportunity in

20   the market and appreciated the company’s integrated approach to delivering on the value

21   proposition to customers of accessing healthier, fresh prepared meals delivered to their homes.

22   I believed that the market for such services was significant and that operating the whole value

23   chain-- from direct sales to customers, through managing the supply chain, producing meals

24   and delivering meals, all utilizing the company’s own employees-- provided Munchery with the

25   unique opportunity to deliver a high-quality product and customer experience while driving

26   down costs and improving margins across all the business activities of the company. I believed
27   that the quality of the technology platform that Munchery had developed would provide the

28   company with a strong competitive advantage over other, smaller companies that did not have

     BERIKER DEC RE FIRST DAY MOTIONS                                                              4
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 1   the resources to invest in technology and that with the right strategy, team, focus on disciplined

 2   execution, and adequate financing from our investors, that Munchery could reverse its financial

 3   profile and build a long-term sustainable business that could both grow and be profitable.

 4          12.     The Board’s priorities were aligned with mine when I joined. Our goals for 2017

 5   and 2018 were to improve the overall quality of the service in order to improve customer

 6   retention and engagement, bring efficiencies to operations in order to reduce costs and increase

 7   gross margins, reduce the company’s cash consumption to increase its runway—and ultimately

 8   raise additional capital and return to growing the business.

 9          13.     After developing a strategy and operating plan that was approved by the Board,

10   our first action was to significantly reduce the cost of the headquarters operation. We had

11   approximately 80 people working across finance, accounting, people operations, business

12   development, product and engineering, culinary development, and marketing. In mid-January

13   2017, we completed a lay-off, reducing the number of employees in our San Francisco

14   headquarters to less than 50 people. Our objective was to continue to invest in and resource

15   functions that were essential to enhancing the quality of our service, provide the necessary

16   business support functions, significantly reduce our marketing spend, and decrease overall

17   operating expenses.

18          14.     At the end of January 2017, both Tran and Chu resigned and left the company.

19          15.     Early in 2017, we hired additional senior people who had experience in

20   managing large food production operations and facilities. With their help, we streamlined our

21   operations at each of our four markets by reducing the size and cost of local management

22   teams, updating all processes and systems, and integrating best practices across managing our

23   supply chains, managing our workforce, and compressing the time between receiving raw

24   goods from suppliers to converting those products into finished goods and delivering them to

25   our customers. By implementing just-in-time supply chain management and just-in-time

26   production, we were able to provide our customers with fresher products, reduce our waste, and
27   increase our gross margins.

28

     BERIKER DEC RE FIRST DAY MOTIONS                                                           5
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 1          16.     Additionally, we conducted research and analysis in early 2017 that enabled the

 2   company to better identify the profile and needs of our core customers, specifically those

 3   customers that used our service regularly. This data informed our culinary planning, technology

 4   roadmap planning, and our pricing strategy. Furthermore, the data helped us target the right

 5   new customers and focus resources on retaining and growing our existing customers, allowing

 6   us to significantly reduce our paid marketing budget.

 7          17.     As a result of our efforts in 2017, we were able to significantly improve our

 8   operating metrics, including our labor cost, food cost, food waste and gross margins—across all

 9   four markets. By the end of 2017, we had reduced EBITDA losses by 49% from 2016. While

10   we reduced marketing spend by 59%, our revenues decreased by only 8% from 2016.

11          18.     In addition to improving our financial operating metrics, we also significantly

12   reduced our fixed costs, including terminating or subleasing lease agreements for non-

13   operational or non-essential properties in each of the four markets. Over 2017, we reduced the

14   number of active leases from 23 to 13.

15          19.     In mid-2017, in an effort to be less reliant on revenue from our direct-to-

16   consumer business, and given that our San Francisco and Los Angeles kitchen facilities were

17   not operating at full capacity, we identified two potential opportunities to efficiently augment

18   our production and increase our revenues and gross margins: (1) to produce products for third

19   parties selling their products to consumers; and, (2) to sell our branded finished products

20   through other retail channels.

21          20.     In that process, we identified a large regional coffee chain that wanted to

22   provide its customers with higher quality, healthier breakfast, lunch, and snack items. We went

23   through a long period of development and discussions on terms and logistics with this potential

24   partner. The plan was that Munchery would develop and deliver fresh items to its locations first

25   in Northern California and later in Southern California. In doing so, we would leverage both

26   our food production and logistics and delivery capabilities. However, at the end of a 9-month
27   process, the customer decided to focus other priorities and remain with its current vendor. Had

28

     BERIKER DEC RE FIRST DAY MOTIONS                                                              6
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 1   this business been secured, it would have been a very meaningful opportunity to add a stable

 2   source of revenue and gross margins to the business.

 3          21.     Additionally, after nearly one year of development, Munchery launched its

 4   branded products at two Bay Area COSTCO locations in September 2018 and expanded to 5

 5   more locations by the end of 2018. We paused the COSTCO program in December 2018 to

 6   reduce costs as the program had not scaled sufficiently to achieve its gross margins targets and

 7   was therefore losing money. Our intention was to relaunch the program after we had secured

 8   additional financing for the business.

 9          22.     Additionally, we launched a line of Munchery branded sandwiches, entrees,

10   salads, and breakfast items at AMAZON GO’s first location in San Francisco in October 2018

11   and its second location in December 2018. The AMAZON GO program was successful in

12   terms of achieving revenue and gross margin targets— and we had planned on expanding when

13   AMAZON GO opened additional stores in the Bay Area. We continued providing products to

14   the two AMAZON GO stores through the week immediately prior to ceasing operations.

15   FURTHER RESTRUCTURING AND EFFORTS TO SELL THE BUSINESS

16          23.     By the third fiscal quarter of 2017, less than one year from my joining the

17   company, the Board decided to market the company for sale. We engaged a boutique

18   investment banking firm based in Palo Alto in October 2017. The thesis was that we had

19   improved the business significantly in 2017 and that it was an appropriate time to identify a

20   strategic buyer who would invest in completing the turnaround and growing the business as

21   part of a larger platform. As part of that process, we engaged with many potential buyers across

22   ecommerce, food delivery, grocery, airline catering, and commercial catering and food

23   production (the “First Sale Process”). Although the firm reached out to well over 100 potential

24   buyers in the U.S. and abroad, and we conducted over 20 management calls and meetings, we

25   did not receive any offers to purchase the company.

26          24.     As part of the First Sale Process, we were introduced to a large regional grocery
27   chain in the mid-Atlantic. Initial discussions focused on a potential acquisition of the company,

28   but eventually led to a wide scale intellectual property license of the Munchery technology

     BERIKER DEC RE FIRST DAY MOTIONS                                                             7
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 1   platform (the “IP License”), the assumption of Munchery’s office lease at 375 Alabama Street

 2   in San Francisco, and the hiring of a large portion of the company’s engineering, culinary

 3   management and marketing teams. The transaction closed in June 2018 (the “June 2018

 4   Transaction”).

 5          25.       The company received $7.5 million in cash consideration under the terms of the

 6   June 2018 Transaction, $3.4 million of which was used to pay down the Comerica debt in

 7   exchange for Comerica’s consent to the IP License. The balance was used to finance the

 8   operations of the company.

 9          26.       As a result of the June 2018 Transaction, approximately 40 people transitioned

10   off Munchery’s payroll onto the licensee’s payroll, enabling Munchery to significantly reduce

11   its headcount without costly severance payments. While having an immediate positive impact

12   on the financial profile of the company by further reducing its operating expenses and EBITDA

13   losses, this reduction in resources required Munchery to outsource its engineering and IT,

14   finance and accounting, and marketing functions. This proved to take longer and be more costly

15   than anticipated.

16          27.       In parallel with the June 2018 Transaction, and as a result of not finding a buyer

17   for the company through the First Sale Process, the Board decided to suspend operations

18   outside San Francisco, announcing on May 11th, 2018 the closure of its facilities and

19   operations in Los Angeles, Seattle, and New York (the “Munchery Closures”) in order to

20   further decrease operating expenses and EBITDA losses towards preserving capital and

21   extending the cash runway of the company. We continued to service the Los Angeles business

22   from San Francisco by taking daily orders from our Los Angeles based clients and fulfilling

23   their orders from San Francisco.

24          28.       For the three months following the Munchery Closures, the team focused on

25   selling assets, terminating or subleasing leased properties, working with vendors who were

26   owed money in those markets, and partnering with third parties interested in accessing our
27   customer base. As a result of those efforts, the company generated approximately $1.6 million

28   in proceeds, used to finance the operations of the company.

     BERIKER DEC RE FIRST DAY MOTIONS                                                            8
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 1          29.     In the third and fourth quarters of 2018, the quarters immediately following the

 2   Munchery Closures, the San Francisco business was down more than 30% year-over-year. We

 3   expected the San Francisco business to be impacted by the closures of the other three markets,

 4   but we expected that the business would recover after the summer, which was historically our

 5   slowest period-- but it did not. We underestimated the impact of the news of the closures in

 6   Los Angeles, Seattle and New York on the San Francisco business. In fact, we received

 7   feedback that there was confusion about our announcement, that customers had assumed that

 8   the company was shutting down in all markets, including San Francisco. Additionally, our

 9   original analysis concluded that we would retain approximately 50% of the Los Angeles based

10   business but we were only able to retain approximately 25%.

11          30.     In the third quarter of 2018, the Board again decided to market the company for

12   sale, based on the thesis that there would be interest in the company based on the fact that the

13   business was simplified to operating only in San Francisco, that the EBITDA losses and

14   balance sheet had significantly improved by the actions in 2017, the decrease in headcount

15   related to the June 2018 Transaction, and the decrease in costs related to the Munchery

16   Closures in mid-2018. Additionally, it was believed that the IP License transaction was a strong

17   proof point of the value of Munchery’s technology platform. For this effort, the Board retained

18   an investment banking firm based in Boston, MA with experience in the food services market

19   (the “Second Sale Process”).

20          31.     During the Second Sale Process, the team reached out to fifty or more potential

21   buyers, including some of the potential buyers we engaged with during the First Sale Process.

22   Despite the improvements in the business, and despite conducting 20 or more management

23   calls and meetings, we were again unable to find a buyer for the business.

24          32.     In parallel with the Second Sale Process, management engaged with existing and

25   potential new investors, including venture funds and parties that had been previously involved

26   in acquisition discussions, on a potential new round of financing. The financing would be
27   structured attractively, likely at a much lower valuation than the previous round and potentially

28

     BERIKER DEC RE FIRST DAY MOTIONS                                                           9
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 1   structured as a complete re-capitalization of the company in which investors would have to

 2   participate in the round or lose their equity. This process was unsuccessful.

 3          33.     From early 2017 through October 2018, the turnaround efforts and ongoing

 4   operations of the business were financed through a series of convertible bridge notes, proceeds

 5   from the June 2018 Transaction, and proceeds of the sale of certain assets following the

 6   Munchery Closures.

 7          34.     During that period, existing and several new investors participated in four

 8   convertible bridge debt financings: Spring 2017 for $12 million; Fall 2017 for $7.8 million;

 9   Winter 2018 for $1.5 million; and, $1.4 million in Spring 2018.

10   THE DECISION TO CEASE OPERATIONS

11          35.     Up until the evening of Sunday January 21, 2019, management was negotiating

12   with the Senior Secured Creditors and several investors to continue financing the operations of

13   the company. We developed a strategy to recover a portion of our $8 million investment the

14   San Francisco facility by identifying a third party to assume our lease and acquire our

15   equipment and machinery, and use those proceeds to pay down a portion of our remaining debt

16   to the Senior Secured Creditors and finance the business to profitability. We believed that that

17   strategy would provide $5 million or more in cash and that, with approximately $1.5 million of

18   that cash committed to ongoing operations, the savings in moving to a less expensive facility

19   would significantly reduce our fixed costs and accelerate our path to profitability. We were

20   engaged with several potential counter parties interested in the San Francisco facility in early

21   December 2018. In early January, we received indications that several parties were working

22   towards providing the company with a proposal. However, the company could not come to an

23   agreement with our Senior Secured Creditors and investors to continue financing the business

24   through a longer period of time to consummate a transaction on the San Francisco facility while

25   the business continued to operate.

26          36.     As a result, the Board decided to cease operations on January 22, 2019. The
27   entire workforce of 257 employees, including full-time and part-time workers in Los Angeles

28   and San Francisco, were laid off and were paid all accrued and unpaid wages and vacation

     BERIKER DEC RE FIRST DAY MOTIONS                                                           10
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 1   through the end of that business day. A small team came back onto the company’s payroll on

 2   the following day to assist former employees with questions related to payroll and benefits,

 3   assist them in finding new employment with companies in the San Francisco Bay Area,

 4   inventory and secure the South San Francisco facility and the company’s tangible assets, and

 5   begin the process of preparing for the bankruptcy filing.

 6          37.     Ultimately, the company suffered from a number of market and competitive

 7   forces and structural deficiencies that led to its inability to develop a long-term sustainable

 8   business that could both grow and be profitable— and led to its inability to secure additional

 9   financing from existing or new investors and its subsequent closure in January 2019.

10          38.     First, the company expanded too aggressively in its early years. The access to

11   significant amounts of capital from leading Silicon Valley venture capital firms at high

12   valuations and low-cost debt from banks and venture debt firms, combined with the perception

13   that the on-demand food delivery market was expanding quickly and would be dominated by

14   one or two brands-- as Uber had dominated the ridesharing market-- drove the company to

15   aggressively invest in its business ahead of having a well-established and scalable business

16   model. This resulted in over $125 million invested between 2011 and 2016 in technology

17   development, property leases, construction of large food production facilities, expansion into

18   new markets, and branding, partnerships and new user acquisition. The amount of capital raised

19   and deployed, and the long-term commitments in fixed assets, made it impossible to achieve

20   profitability, attract capital from existing or new investors, or find a buyer for the business.

21          39.     Second, the business model relied heavily on the ability to attract new

22   customers, which became more and more difficult as the market evolved. The cost of acquiring

23   new customers increased significantly as other well-financed companies, such as Blue Apron,

24   Plated, Home Chef and Hello Fresh, deployed significant budgets on search and social media

25   platforms and leveraged aggressive promotions in order to grow their customer base. This

26   significantly increased the cost of new customer acquisition and impaired the efficiency of
27   these online advertising channels. The intensity of this competition, driven by the belief that

28   user growth was essential to raising additional financing or executing a successful initial public

     BERIKER DEC RE FIRST DAY MOTIONS                                                            11
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 1   offering, resulted in a deterioration of the entire market opportunity. Many companies,

 2   including Debtor, experienced a steady increase of customer-acquisition-cost, a decrease in

 3   customer retention and lifetime value, and increase in churn (or customer loss). The erosion of

 4   these fundamental operating metrics undermined the business models of many if not all startups

 5   seeking to develop long-term sustainable businesses in food delivery and impaired their ability

 6   to attract additional financing.

 7          40.     Third, as the market home delivery of prepared food expanded rapidly,

 8   particularly in the urban early-adopter markets in which Munchery operated, competition from

 9   well financed on-demand services such as Grub Hub, Seamless, Door Dash, Postmates, Caviar,

10   and Uber Eats, increased significantly. These services were able to quickly bring popular

11   restaurants onto their platforms, increasing choices for customers, and were able to invest

12   heavily in brand marketing and user acquisition and drive adoption through free delivery and

13   other incentives. The proliferation of these services made it difficult for Munchery to

14   effectively differentiate its service and compete with their extensive meal choices, convenience

15   and pricing.

16          41.     Fourth, the costs associated with producing and delivering high quality meals

17   every day, including the costs of labor, packaging, and fresh ingredients, increased beyond the

18   company’s ability to raise prices while remaining competitive, suppressing its gross margins

19   and impeding profitability.

20          42.     Finally, the initial public offering of Blue Apron in June 2017, and the

21   subsequent reporting of its financial and operational metrics, particularly its cost of customer

22   acquisition, customer lifetime value, customer churn and retention rates, its advertising and

23   marketing costs, the capital expense requirements of its business, the cost and complexity of its

24   business operations, and the loss of approximate nearly 70% in enterprise value in its first year

25   as a public company, had a material negative impact on access to financing for startups in the

26   online food delivery business.
27          43.     Like other startups in the fresh food delivery market, including early companies

28   such as Spoon Rocket, Sprig, Maple, Bento, that ceased operations in March 2016, May 2017,

     BERIKER DEC RE FIRST DAY MOTIONS                                                          12
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 1   May 2017, and January 2017, respectively, making and delivering freshly prepared food

 2   directly to consumers proved not to be a sustainable business model.

 3   THE COMPANY’S ASSETS AND GENERAL DEBT STRUCTURE

 4           44.     The Debtor’s assets include: the lease, improvements and equipment located at

 5   220 Shaw Road in South San Francisco, CA (the “Premises”), which include approximately

 6   70,000 square feet of space with approximately 35,000 square feet of built out and fully useable

 7   food preparation and storage space; and, the intangible assets, including intellectual property,

 8   customer lists, brand, recipes and other data, and tradename (collectively the “Intangible

 9   Assets”). The company also owns miscellaneous assets of relatively minor value, such as

10   security deposits, insurance premium refunds from cancelled policies, and accounts receivable.

11           45.     The primary liabilities of the company include:

12                   a. Senior Secured Debt as outline above of approximately $5.3 million;

13                   b. Subordinated secured debt/ convertible debt of approximately $23 million;

14                   c. Unsecured debt to vendors, suppliers and various counter parties of

15                       approximately $3 million;

16                   d. Customers who have gift cards balances of approximately $3 million.

17   INITIAL ASSET SALE, FIRST DAY MOTIONS AND THE CHAPTER 11 CASE:

18           46.     Prior to filing the Case, Munchery entered into a Letter of Intent (“LOI”) with

19   Gate Gourmet, Inc. (“Gate”), a leading airline catering company with global operations. The

20   LOI covers: i) the assignment of Debtor’s lease for Premises; ii) payment for Debtor’s

21   improvements to the Premises; and, iii) the sale of Debtor’s equipment and machinery located

22   in the kitchen on the Premises. Munchery spent approximately $8 million in building out the

23   Premises and acquiring machinery and equipment used in the preparation and storage of food.

24   I believe the facility is a very attractive opportunity for companies looking to acquire a large

25   food preparation and storage facility, given particularly the room for expansion within the

26   Premises and its proximity to the San Francisco International Airport. Debtor anticipates
27   having an agreed upon Asset Purchase Agreement (“APA”) with Gate soon after the case is

28   filed if it does not have one prior to filing.

     BERIKER DEC RE FIRST DAY MOTIONS                                                           13
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 1           47.     In very general terms, the transaction with Gate provides for the payment of $5

 2   million, plus a replacement security deposit for the landlord of $300,000 and a $300,000 letter

 3   of credit (“LOC”). The company’s current LOC is secured by a pledge account held by

 4   Comerica. The provision of the security deposit and letter of credit will result in a release of

 5   like amounts back to the Debtor from the landlord and Comerica. The proposed transaction

 6   includes an additional five (5) year extension of the lease and a commitment by Gate to make at

 7   least $1 million of improvements to the Premises in the first two years of its occupancy;

 8   otherwise, the proposed terms of the lease assumption by Gate are identical to our current

 9   terms. A more thorough discussion of the LOI is found in Debtor’s Motion to Establish

10   Bidding Procedures. Debtor agreed with Gate to file this motion at the beginning of the case so

11   procedures will be established, and the sale process can move promptly.

12           48.     The Gate transaction will be subject to a minimum overbid of $250,000 and a

13   breakup fee of $150,000 to be paid to Gate if it is not the successful bidder in the event of an

14   overbid. If an overbid is timely received, any additional bids will be in minimum increments of

15   $25,000. As Munchery was in discussions with other parties concerning the Premises and

16   assets located there, an overbid is possible. If there is an overbid, Debtor anticipates holding an

17   in-court auction at a hearing in early April and closing the transaction by the end of April.

18           49.     Munchery has entered into a stipulation for use of cash collateral (the

19   “Stipulation”) with Comerica and TriplePoint and debtor in possession financing (“DIP

20   Financing”) that is designed to cover the operational costs (the largest of which is monthly rent

21   for the Premises of $87,748). The Stipulation includes a projected budget and provides for

22   certain carve-outs for professionals, U.S. Trustee fees, and unsecured creditors. The Stipulation

23   and related information are discussed separately in Debtor’s first day motion seeking approval

24   of its terms.

25           50.     I and one other Munchery employee will handle matters during the Chapter 11

26   case. The one other employee is knowledgeable with Munchery’s previous operations, assets,
27   finance and accounting processes and information and will be paid a salary of $19,522 per

28   month while her services remain necessary (estimated for one month through the end of March

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 1   2019). This salary reflects a $5,000 per month increase to her pre-petition salary, which the

 2   company agreed to as an inducement for her to remain through March. I entered into a new

 3   offer letter with respect to my responsibilities and compensation in the Chapter 11 case. As all

 4   the company board members other than me had resigned from the Board of Directors by the

 5   middle of January, I disclosed my proposed compensation agreement to the investors that

 6   represented the majority of our shareholders and bridge noteholders. The agreement requires

 7   me to provide services relating to the sale of assets and representing the company and

 8   otherwise assisting counsel with the filing and consummation of the bankruptcy proceeding.

 9   Under the terms of my ongoing employment, my compensation is $18,750 per month, which is

10   one-half of my regular pre-petition salary (anticipated for two months through April 2019). In

11   addition, the agreement provides that I will receive a success fee based on the net proceeds

12   recovered from the sale of the company’s assets up to a maximum of $250,000. The success fee

13   is payable on a sliding scale, in fixed increments based on the net cash available after the

14   deduction of direct costs related to the sale of assets. More detail is available in the Stipulation.

15   The Senior Secured Lenders have consented to the use of cash collateral to pay my

16   compensation. Given my experience and familiarity with the company and its assets, and the

17   market of potential buyers for the assets, and my involvement pre-petition with Gate and other

18   parties interested in purchasing assets, it is in the Debtor’s best interests for me to remain

19   engaged in this process.

20          51.     In addition to the anticipated sale to Gate or an overbidder, I am in the process

21   of identifying buyers for the Intangible Assets. I believe the sale of the Intangible Assets can

22   be done without enlisting the services of a broker or investment banker and I will continue

23   working on the sale of these assets while the Gate transaction moves forward.

24          52.     In regard to the motion dealing with Debtor’s pre-petition bank accounts, the

25   primary accounts are held at Comerica and subject to its control. The accounts can be identified

26   by the last digits as follows: 4688; 4684; 4700; 4718; and 7071. Debtor proposes to have
27   Comerica place a “hard hold” on all of its pre-petition deposit accounts but to keep the accounts

28   open for the sole purpose of receiving payments and refunds that are sent via electronic

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 1   payment methods. Debtor will not write checks or send electronic transfers from its accounts

 2   and no pre-petition checks written on the accounts will be honored. This will avoid the

 3   problem of having any outstanding checks clear the Debtor’s pre-petition accounts. Debtor will

 4   open a new operating DIP account at Comerica. Keeping the pre-petition accounts open will

 5   assist in the collection of outstanding accounts receivable and refunds. Corporate customers

 6   and credit card companies and vendors that owe the Debtor refunds, typically send electronic

 7   payments directly into Debtor’s pre-petition deposit accounts and if Debtor closes the accounts,

 8   it will likely disrupt Debtor’s timely receipt off such payments and refunds. As Debtor has

 9   only two employees left, and we are working on the sale process and compliance with the

10   Debtor’s bankruptcy obligations, it will be challenging to find the time to communicate with

11   Debtor’s former customers with respect to a change of bank accounts, and even after doing so,

12   payment disruptions and delays are likely. Accordingly, Debtor requests it be permitted to

13   retain its pre-petition accounts while placing a “hard hold” on such accounts.

14          53.     With respect to the first day motion regarding notice, Debtor has approximately

15   230 creditors who are primarily vendors and counter parties and over 250 former employees,

16   all of which will receive notice of the bankruptcy filing in the traditional method. In addition to

17   these parties, Debtor owes approximately $3 million to thousands of its former customers (the

18   “Customer Obligations”). The Customer Obligations are relatively small and are in the form of

19   unused or partially used gift cards or credits. Given the number of customers who are owed

20   money, the cost to provide written notice to these customers, and the cost of assembling the

21   information, would be prohibitive. Moreover, Debtor only communicated with these customers

22   via electronic communication sent by email. Accordingly, and as requested in the first day

23   motion with respect to notice, Debtor requests that it be allowed to provide notice of the

24   bankruptcy filing to former customers via email. Debtor has discussed a process for doing this

25   with Omni Management, which it anticipates retaining for handling such notice and to create a

26   website with information on the bankruptcy filing that can be easily accessed by creditors,
27   customers and employees.

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 1          I declare under penalty of perjury that the foregoing is true and correct. Executed this

 2   28th day of February 2019 at South San Francisco, California.

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 4                                                        /s/ James Beriker
                                                          James Beriker
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